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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA
____________________________________
                                     :
KAREN L. HOFFMANN,                   :
                                     :
                                     :
                  Plaintiff.         :
                                     : CIVIL ACTION
      v.                             : NO. 20-6427
                                     :
U.S. CUSTOMS AND BORDER              :
PROTECTION,                          :
                                     :
                  Defendant.         :
____________________________________


     STIPULATION AND ORDER FOR THE EXTENSION OF TIME

        Plaintiff filed this action under the Freedom of Information Act, 5 U.S.C. § 552

(“FOIA”) on December 23, 2020.

       Defendant U.S. Customs and Border Protection’s time to respond to the complaint is

currently January 28, 2021.

       Defendant requests an additional 21 days to respond to Plaintiff’s complaint, up to

and including February 18, 2021. Plaintiff consents to this request.
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Dated: January 26, 2021                     Respectfully submitted,


s/ Karen L. Hoffmann                        s/ Eric. D. Gill
KAREN L. HOFFMANN, ESQ.                     ERIC D. GILL
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412-916-4509                                (215) 861-8250

Plaintiff pro se                            Attorney for Defendant United States
                                            Customs and Border Protection




                                            SO ORDERED:



                                              s/ANITA B. BRODY, J.
Dated: ___1/27/2021___
                                            HON. ANITA B. BRODY
                                            Judge, United States District Court




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